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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS



North Atlantic Truck Group, LLC                   )
                        Plaintiff,                )       CIVIL ACTION NO.: 1:08cv11242-RGS
                                                  )
                 v.                               )
                                                  )
                                                  )
Ocean Transport Services LLC, et al.,             )
                                                  )
                         Defendants.              )
                                                  )



                                         ORDER OF DISMISSAL


STEARNS, District Judge

   It is hereby ORDERED that the above-entitled action be, and it hereby is, DISMISSED in its entirety for

failure to comply with the Court’s Notice of May 27, 2009 and for want of prosecution.



                                                                           BY THE COURT,

                                                                           /s/ Terri Seelye
                                                                           Deputy Clerk

DATED: March 18, 2010
